
WILLIAM A. CULPEPPER, Judge Pro Tern.
This is a companion suit to Miller v. Bailey, et al., 621 So.2d 1174 (La.App.3d Cir.1993), No. 92-1178 on the docket of this court. For the reasons assigned in Miller, the judgment of the trial court is reversed in part to assess -0- fault to the State, Department of Transportation and Development, the State, Department of Public Safety and Corrections, and Anthony Shane Richard; plaintiff Guillory’s claims against them are dismissed. The judgment is amended to assess fault as follows: Stephen S. Bailey — 50%; Antonial K. Miller— 20%; plaintiff Stacy Guillory — 17%; third persons (non parties) — 13%.
The quantum of the trial court’s award of $14,000 damages is affirmed. Accordingly, the judgment is amended to award $2308.84 to Stacy Guillory and against An-tonial K. Miller only.
In all other respects, the judgment of the trial court is affirmed.
Costs in the trial court and of this appeal are assessed equallyagainst the defendant, Antonial K. Miller, and Stacy Guillory.
REVERSED in PART; AFFIRMED in PART; AMENDED and RENDERED.
